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DOCKET No. 81 19cr651 DEFENDANT Florian Claudiu Martin

 

AUSA Elizabeth Hanft DEF.’S COUNSEL Edward Sapone
Cleerainnep OC) reperaAt perenpers Micya LI preseNTMENT ONLY

 

(i Romanian INTERPRETER NEEDED
CO) DEFENDANT WAIVES PRETRIAL REPORT

ORule5 MRule9 O Rule 5(c)(3) Detention Hrg. DATE OF ARREST 10/10/18 C1 VOL. SURR.
TIME OF ARREST 2am C1 oN WRIT
Oi Other: TIME OF PRESENTMENT 3:15pm

 

BAIL DESPOSITION

OSE SEP. ORDER
DETENTION ON CONSENT W/O PREJUDICE CO DETENTION: RISK OF FLIGHT/DANGER WISEE TRANSCRIPT
CJ DETENTION HEARING SCHEDULED FOR:
[1 AGREED CONDITIONS OF RELEASE
C1 DEF, RELEASED ON OWN RECOGNIZANCE
Of PRB O FRP
[] SECURED BY $ CASH/PROPERTY:
COTRAVEL RESTRICTED TO SDNY/EDNY/
[1 TEMPORARY ADDITIONAL TRAVEL UPON CONSENT OF AUSA & APPROVAL OF PRETRIAL SERVICES
C1) SURRENDER TRAVEL DOCUMENTS (& NO NEW APPLICATIONS)

 

CIPRETRIAL SUPERVISION: []REGULAR [ISTRICT [J AS DIRECTED BY PRETRIAL SERVICES
[} DRUG TESTING/TREATMT AS DIRECTED BY PTS [J] MENTAL HEALTH EVAL/TREATMT AS DIRECTED BY PTS
[] DEF. TO SUBMIT TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTING/TREATMENT

CVHOME INCARCERATION DJHOMEDETENTION CICURFEW CIELECTRONIC MONITORING (CIGPS
(1 DEF, TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES

QO DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR] [J DEF. TO CONTINUE OR START EDUCATION PROGRAM
ZC) DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON

C) DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
LC] DEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS:
; REMAINING CONDITIONS TO BE MET BY:

 

 

 

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:;

MZ] DEF. ARRAIGNED; PLEADS NOT GUILTY [7] CONFERENCE BEFORE D.J. ON 10/24/19
CL DEF. WAIVES INDICTMENT
[7 SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 3161(h)(7) UNTIL 10/24/19

For Rule 5(c}(3) Cases:
FI IDENTITY HEARING WAIVED 1] DEFENDANT TG BE REMOVED

C] PRELIMINARY HEARING IN SDNY WAIVED LJ CONTROL DATE FOR REMOVAL:

 

PRELIMINARY HEARING DATE: XC ON DEFENDANT’S CONSENT y a,
a,
DATE: 10/11/19 C

 

UNITED STATES MAGISTRATE JUDGE, S.D.N.Y.

WITTE (original) - COURT FILE PINK - U.8. ATFORNEY’S OFFICE YELLOW — U.5. MARSHAL GREEN — PRETRIAL SERVICES AGENCY
Rev'd 2016

 

 

 

 
